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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

   ON SEMICONDUCTOR CORPORATION             )
   and SEMICONDUCTOR COMPONENTS             )
   INDUSTRIES, LLC,                         )   REDACTED-
                                            )   PUBLIC VERSION
                Plaintiffs,                 )
                                            )
         v.                                 )   C.A. No. 17-247-LPS
                                            )
   POWER INTEGRATIONS, INC.,                )
                                            )
                Defendant.                  )


                         VOLUME 1 of 2 (A1-A669)
                     APPENDIX OF EXHIBITS CITED IN
        POWER INTEGRATIONS, INC.’S MOTIONS FOR SUMMARY JUDGMENT

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   Dated: August 6, 2019
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         Ref.: Standards – ST.9                                                                                        page: 3.9.0




                                                           STANDARD ST.9


                                    RECOMMENDATION CONCERNING BIBLIOGRAPHIC DATA ON
                                           AND RELATING TO PATENTS AND SPCS



                                            Editorial Note prepared by the International Bureau



                 Users of patent documents and Patent Gazettes often encounter difficulties in identifying the bibliographic data
         on or concerning patent documents. The aim of this Recommendation is to overcome these difficulties. The
         Recommendation covers a list of approximately 60 distinct bibliographic data widely used on the first page of patent
         documents or in Patent Gazettes. They are identified through code numbers, the so-called “INID Codes” or
         “INID Numbers”. (“INID” is an acronym for “Internationally agreed Numbers for the Identification of
         (bibliographic) Data”.)

                 The bibliographic data covered in the Recommendation range from data for the document identification, filing
         data, priority data, publication data, data concerning technical information to data related to International Patent
         Conventions.




         en / 03-09-01                                                                                            Date: June 2013




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         Ref.: Standards – ST.9                                                                                                 page: 3.9.1




                                                               STANDARD ST.9


                                      RECOMMENDATION CONCERNING BIBLIOGRAPHIC DATA ON
                                             AND RELATING TO PATENTS AND SPCS


                                                    (Identification and Minimum requirements)


                                        Revision adopted by the Committee on WIPO Standards (CWS)
                                                     at its third session on April 19, 2013



         INTRODUCTION

         1.      This Recommendation is aimed at improving the access to information relating to patents and SPCs in general
         and to the bibliographic content of Patent Gazettes and patent documents in particular.

         2.      This Recommendation provides for codes whereby the various bibliographic data appearing on the first page of a
         patent document and/or in an entry in a Patent Gazette can be identified without knowledge of the language used and
         the industrial property laws, conventions or treaties applied.

         3.       This Recommendation further indicates the bibliographic data which as a minimum should be printed on the
         first page of a patent document and be published as part of an entry in a Patent Gazette.


         DEFINITIONS

         4.      For the purposes of this Recommendation, the expression:

                  (a)     “patents” includes such industrial property rights as patents for inventions, plant patents, design patents,
         inventors’ certificates, utility certificates, utility models, patents of addition, inventors’ certificates of addition and utility
         certificates of addition;

                 (b)      “SPCs” stands for supplementary protection certificates. The SPC takes effect at the end of the term of a
         patent which protects the product as such, a process to obtain the product or an application of the product. For a
         detailed definition of an SPC, please refer to the Glossary of Terms Concerning Industrial Property Information and
         Documentation, which is published in Part 8, of the WIPO Handbook on Industrial Property Information and
         Documentation;

                  (c)      “patent documents” means documents containing bibliographic data and other information with respect to
         such industrial property rights as patents for inventions, plant patents, design patents, inventors’ certificates, utility
         certificates, utility models, patents of addition, inventors’ certificates of addition, utility certificates of addition, and
         published applications therefor;

                (d)     “Patent Gazette” means a journal containing announcements with respect to patents and SPCs made in
         accordance with requirements under national industrial property laws or regional or international industrial property
         conventions or treaties;

                (e)    “entry in a Patent Gazette” means a comprehensive announcement including bibliographic data made in
         a Patent Gazette regarding patents and SPCs or applications therefor;

                 (f)     “making available to the public” means:

                          (i)   publishing multiple copies of a patent document produced on, or by, any medium (e.g., paper,
         film, magnetic tape or disc, optical disc, online database, computer network, etc.) or

                          (ii)   laying open for public inspection and supplying a copy on request;

                (g)     “examined” and “unexamined” refer to an examination made as to substance, as distinct from the
         preparation of a documentary search report or an examination made as to form which latter examination is ordinarily
         made by an industrial property office immediately upon receipt of an application;

                 (h)     “INID” is an acronym for “Internationally agreed Numbers for the Identification of (bibliographic) Data”.



         en / 03-09-01                                                                                                    Date: June 2013




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          Ref.: Standards – ST.9                                                                                          page: 3.9.2




          5.     References to the following Standards are of relevance to this Recommendation:

                 WIPO Standard ST.2           Standard Manner for Designating Calendar Dates by Using the Gregorian Calendar;
                 WIPO Standard ST.3           Recommended Standard on Two-Letter Codes for the Representation of States,
                                              Other Entities and Intergovernmental Organizations;
                 WIPO Standard ST.10/B        Layout of Bibliographic Data Components;
                 WIPO Standard ST.10/C        Presentation of Bibliographic Data Components;
                 WIPO Standard ST.14          Recommendation for the Inclusion of References Cited in Patent Documents;
                 WIPO Standard ST.16          Recommended Standard Code for the Identification of Different Kinds of Patent
                                              Documents;
                 WIPO Standard ST.18          Recommendation Concerning Patent Gazettes and Other Patent Announcement
                                              Journals;
                 WIPO Standard ST.34          Recommendation Concerning the Recording of Application Numbers in Electronic
                                              Form for the Exchange of Bibliographic Data;
                 WIPO Standard ST.50          Guidelines for Issuing Corrections, Alterations and Supplements relating to Patent
                                              Information
                 International Standard ISO 639:1988 “Code for the Representation of Names of Languages”.



          IDENTIFICATION OF BIBLIOGRAPHIC DATA AND MINIMUM REQUIREMENTS

          6.     The list of definitions of bibliographic data with their corresponding INID codes is given in Appendix 1 to this
          Recommendation and entitled “INID codes and minimum requirements for the identification of bibliographic data
          elements”. To assist industrial property offices and users of industrial property documentation, Appendix 2 to this
          Recommendation contains those INID codes, with their definitions and/or notes, which were used at a certain period of
          time but have either ceased to be available for use or have been amended.

          7.      The INID codes which are preceded by a single asterisk (*) relate to those data elements which are considered
          to be the minimum elements which should appear on the first page of a patent document and in an entry in a Patent
          Gazette. In this Standard, no minimum data elements are defined relating to SPCs.

          8.     The INID codes which are preceded by a double asterisk (**) relate to those data elements which are considered
          to be minimum elements in circumstances specified in the accompanying notes.


          APPLICATION OF CODES

          9.     The INID codes should be associated with the corresponding bibliographic data in so far as these data normally
          appear on the first page of a patent document or in an entry in a Patent Gazette.

          10.    Provided the presentation of bibliographic data in entries in a Patent Gazette is uniform, INID codes may be
          applied to the bibliographic data in a representative specimen entry in each gazette issued, instead of being included in
          each entry.

          11.    The INID codes should be printed in Arabic numerals, preferably within small circles or if this is not possible, in
          parentheses, immediately before the corresponding bibliographic data element.

          12.     If bibliographic data to which INID codes are assigned in accordance with this Recommendation do not appear
          on the first page of a patent document or in an entry in a Patent Gazette—because they are not applicable (e.g., when
          no priority is claimed) or for some other reason—it is not necessary to call attention to the non-existence of such
          elements (e.g., by leaving a space or by providing the relevant INID code followed by a dash).

          13.    Two or more INID codes may be assigned to a single bibliographic data when necessary.




          en / 03-09-01                                                                                              Date: June 2013




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          Ref.: Standards – ST.9                                                                                        page: 3.9.3




          14.    The list of bibliographic data has been organized into categories to facilitate grouping of related data. Each
          category has several subdivisions to each of which an INID code has been assigned. Category codes, ending in “0”, can
          themselves be used in one, or both, of the following situations:

                 (a)     where several individual bibliographic data items of the same category are present and it is desired to
          present those individual data items together without using individual INID codes;

                 (b)      where INID codes are not provided for specific bibliographic data items.

          Industrial property offices should clearly define the use by them of category codes in each of the above situations.

          15.    The presentation of calendar dates identified by any of the INID codes concerned should be in the sequence and
          format as recommended in WIPO Standard ST.2.

          16.    In order that the users of patent documents and Patent Gazettes may be enabled to make maximum use of the
          INID codes, it is recommended that a list of the codes be published in Patent Gazettes at regular intervals (see
          WIPO Standard ST.18).


          IMPLEMENTATION

          17.   Industrial property offices can start using this Recommendation at any time. It is recommended that when
          implementing the INID codes an announcement in the sense of paragraph 16 be made and the International Bureau
          of WIPO be informed, e.g., by forwarding a sample of the Patent Gazette.




                                                                                                                [Appendix 1 follows]




          en / 03-09-01                                                                                            Date: June 2013




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          Ref.: Standards – ST.9                                                                                              page: 3.9.4




                                                                    APPENDIX 1

                                     INID CODES AND MINIMUM REQUIREMENTS FOR THE IDENTIFICATION
                                                   OF BIBLIOGRAPHIC DATA ELEMENTS



          (10)      Identification of the patent, SPC or patent document

                  * (11)     Number of the patent, SPC or patent document

                  * (12)     Plain language designation of the kind of document

                  * (13)     Kind-of-document code according to WIPO Standard ST.16

                    (15)     Patent correction information

                 ** (19)     WIPO Standard ST.3 code, or other identification, of the office or organization publishing the document

                    Notes:    (i)    For an SPC, data regarding the basic patent should be coded by using code (68).

                              (ii)   ** Minimum data element for patent documents only.

                             (iii)   With the proviso that when data coded (11) and (13), or (19), (11) and (13), are used together and
                                     on a single line, category (10) can be used, if so desired.

                             (iv)    Data to be given under code (15) should be presented in accordance with the provisions set out in
                                     WIPO Standard ST.50.


          (20)      Data concerning the application for a patent or SPC

                  * (21)     Number(s) assigned to the application(s), e.g., “Numéro d’enregistrement national”, “Aktenzeichen”

                  * (22)     Date(s) of filing the application(s)

                  * (23)     Other date(s), including date of filing complete specification following provisional specification and date of
                             exhibition

                    (24)     Date from which industrial property rights may have effect

                    (25)     Language in which the published application was originally filed

                    (26)     Language in which the application is published

                    (27)     Reference to a previously filed application for the purpose of obtaining a filing date under the Patent Law
                             Treaty (PLT), Article 5(7)

                    Notes:    (i)    The document "Terms of Protection", which provided information related to code (24), has been
                                     moved to the Archives.

                              (ii)   The languages under codes (25) and (26) should be indicated by using the two-letter language
                                     symbols according to International Standard ISO 639:1988.

                             (iii)   With regard to code (27), the reference shall be made by indicating the WIPO Standard ST.3
                                     code of the office with which the previous application was filed, the application number of the
                                     application, and, if required, the filing date.




          *      For the meaning of the asterisk, see paragraph 7 or 8 of this Recommendation.



          en / 03-09-01                                                                                                  Date: June 2013




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          Ref.: Standards – ST.9                                                                                                  page: 3.9.6

                                                                  Appendix 1, page 3

                   (58)     Field of search

                   Notes:    (i)    The presentation of the classification symbols of the International Classification for Industrial
                                    Designs should be made in accordance with paragraph 4 of WIPO Standard ST.10/C.

                             (ii)   With regard to code (56) attention is drawn to WIPO Standard ST.14 in connection with the
                                    citation of references on the first page of patent documents and in search reports attached to
                                    patent documents.


          (60)   References to other legally or procedurally related domestic or previously domestic patent documents including
          unpublished applications therefor

                 * (61)     Number and, if possible, filing date of the earlier application, or number of the earlier publication, or
                            number of earlier granted patent, inventor’s certificate, utility model or the like to which the present patent
                            document is an addition

                 * (62)     Number and, if possible, filing date of the earlier application from which the present patent document has
                            been divided up

                 * (63)     Number and filing date of the earlier application of which the present patent document is a continuation

                 * (64)     Number of the earlier publication which is “reissued”

                   (65)     Number of a previously published patent document concerning the same application

                   (66)     Number and filing date of the earlier application of which the present patent document is a substitute, i.e.,
                            a later application filed after the abandonment of an earlier application for the same invention

                   (67)     Number and filing date of a patent application, or number of a granted patent, on which the present utility
                            model application or registration (or a similar industrial property right, such as a utility certificate or utility
                            innovation) is based

                   (68)     For an SPC, number of the basic patent and/or, where appropriate, the publication number of the patent
                            document

                   Notes:    (i)    Priority data should be coded in category (30).

                             (ii)   Code (65) is intended primarily for use by countries in which the national laws require that
                                    re-publication occur at various procedural stages under different publication numbers and these
                                    numbers differ from the basic application numbers.

                            (iii)   Category code (60) should be used by countries which were previously part of another entity for
                                    identifying bibliographic data elements relating to applications or grants of patents which data had
                                    initially been announced by the industrial property office of that entity.


          (70)     Identification of parties concerned with the patent or SPC

                 ** (71)    Name(s) of applicant(s)

                   (72)     Name(s) of inventor(s) if known to be such

                 ** (73)    Name(s) of grantee(s), holder(s), assignee(s) or owner(s)

                   (74)     Name(s) of attorney(s) or agent(s)

                 ** (75)    Name(s) of inventor(s) who is (are) also applicant(s)

                 ** (76)    Name(s) of inventor(s) who is (are) also applicant(s) and grantee(s)

                   Notes:    (i)    ** For patent documents for which grant has taken place on or before the date of making
                                    available to the public, and gazette entries relating thereto, the minimum data requirement is met
                                    by indicating the grantee, and for other documents by indication of the applicant.

                             (ii)   Codes (75) and (76) are intended primarily for use by countries in which the national laws require
                                    that the inventor and applicant be normally the same. In other cases codes (71) or (72) or (71),
                                    (72) and (73) should generally be used.


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          Ref.: Standards – ST.9                                                                                              page: 3.9.7

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          (80) (90)        Identification of data related to International Conventions other than the Paris Convention, and to
          legislation with respect to SPCs

                 (81)     Designated State(s) according to the PCT

                 (83)     Information concerning the deposit of microorganisms, e.g., under the Budapest Treaty

                 (84)     Designated Contracting States under regional patent conventions

                 (85)     Date of commencement of the national phase pursuant to PCT Article 23(1) or 40(1)

                 (86)     Filing data of the PCT international application, i.e., international filing date, international application
                          number, and, optionally, the language in which the published international application was originally filed;
                          or, in the case of design patents, registration data of the Hague Agreement international application, i.e.,
                          international registration date and international registration number

                 (87)     Publication data of the PCT international application, i.e., international publication date, international
                          publication number, and, optionally, the language in which the international application is published

                 (88)     Date of deferred publication of the search report

                 (91)     Date on which an international application filed under the PCT no longer has an effect in one or several
                          designated or elected States due to failure to enter the national or regional phase or the date on which it
                          has been determined that it had failed to enter the national or regional phase

                 (92)     For an SPC, number and date of the first national authorization to place the product on the market as a
                          medicinal product or plant protection product

                 (93)     For an SPC, number, date and, where applicable, country of origin, of the first authorization to place the
                          product on the market as a medicinal product or plant protection product within a regional economic
                          community

                 (94)     Calculated date of expiry of the SPC or the duration of the SPC

                 (95)     The product protected by the basic patent and in respect of which the SPC or the extension of the SPC
                          has been applied for or granted

                 (96)     Filing data of the regional application, i.e., application filing date, application number, and, optionally, the
                          language in which the published application was originally filed

                 (97)     Publication data of the regional application (or of the regional patent, if already granted), i.e., publication
                          date, publication number, and, optionally, the language in which the application (or, where applicable, the
                          patent) is published

                 (98)     For an SPC, the date concerning the application for an extension of the duration, the revocation of an
                          extension of the duration and the recalculation of the duration

                 Notes:    (i)    With regard to patents for invention, the codes (86), (87), (96) and (97) are intended to be used:

                                  –   on national documents when identifying one or more of the relevant filing data or publication
                                      data of the PCT international application or of the regional application (or of the regional
                                      patent, if already granted), or

                                  –   on regional documents when identifying one or more of the relevant filing data or publication
                                      data of the PCT international application or of another regional application (or the regional
                                      patent, if already granted).

                           (ii)   All data in codes (86), (87), (96) or (97) should be presented together and preferably on a single
                                  line. The application number or publication number should comprise the three basic elements as
                                  shown in the examples in paragraph 17 of WIPO Standard ST.10/B.

                          (iii)   When data to be referenced by codes (86), (87), (96) or (97) refer to two or more PCT
                                  international applications and/or regional applications (or regional patents, if already granted),
                                  each set of relevant filing or publication data of each such application (or granted patent) should
                                  be displayed so as to be clearly distinguishable from other sets of relevant data, e.g., by
                                  presenting each set on a single line or by presenting the data of each set grouped together on
                                  adjacent lines in a column with a blank line between each set.


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          Ref.: Standards – ST.9                                                                                        page: 3.9.8

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                          (iv)   The languages under codes (86), (87), (96) and (97) should be indicated by using the two-letter
                                 language symbols according to International Standard ISO 639:1988.

                          (v)    The country of origin in code (93), if mentioned, should be indicated by using the two-letter code
                                 according to WIPO Standard ST.3.

                          (vi)   The document "Terms of Protection", which provided information related to code (24), has been
                                 moved to the Archives.




                                                                                                                [Appendix 2 follows]




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          Ref.: Standards – ST.9                                                                          page: 3.9.9




                                                        APPENDIX 2

                              DELETIONS AND AMENDMENTS TO THE CODE LIST GIVEN IN APPENDIX 1




         INID     Previous definition(s)                                           Date of deletion
                                                Pertinent previous note(s)                             Kind of change
         Code           of code                                                    or amendment

         (15)    Patent Correction                          –                    May 28, 1998, by      Footnote added
                 Information                                                     PCIPI/EXEC/XXII
         (30)    Data relating to priority                                       February 21, 2008,    Code definition
                 under the Paris                                                 by SCIT/SDWG/9        amended
                 Convention
         (34)    For priority filings                                            February 21, 2008,    Code definition
                 under regional or                                               by SCIT/SDWG/9        amended
                 international
                 arrangements, the
                 WIPO Standard ST.3
                 code identifying at
                 least one country party
                 to the Paris Convention
                 for which the regional
                 or international
                 application was made
         (51)    International Patent                       –                    November 29, 1996, Code definition
                 Classification                                                  by PCIPI/EXEC/XIX amended
         (53)    Universal Decimal                          –                    November 21, 1997, Code deleted
                 Classification                                                  by PCIPI/EXEC/XXI
         (55)    Keywords                                   –                    November 21, 1997, Code deleted
                                                                                 by PCIPI/EXEC/XXI
         (73)    Name(s) of grantee(s)                      –                    November 29, 1996, Code definition
                 or of the holder(s)                                             by PCIPI/EXEC/XIX amended
         (85)    Date of fulfillment of                     –                    May 30, 1997, by      Code definition
                 the requirements of                                             PCIPI/EXEC/XX         amended
                 Articles 22 and/or 39 of
                 the PCT for introducing
                 the national procedure
                 according to the PCT




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          Ref.: Standards – ST.9                                                                                         page: 3.9.10

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         INID     Previous definition(s)                                                           Date of deletion
                                                        Pertinent previous note(s)                                     Kind of change
         Code           of code                                                                    or amendment

         (86)    Filing data of the           (i) The codes (86) and (87) are intended to        November 21, 1997, Code definition
                 regional or PCT              be used:                                           by PCIPI/EXEC/XXI and notes
                 application, i.e.,                                                                                 amended
                 application filing date,           – on national documents when
                 application number,          identifying one or more of the relevant filing
                 and, optionally, the         data or publication data of the regional
                 language in which the        application (or of the regional patent, if
                 published application        already granted) or of the PCT application, or
                 was originally filed
                                                    – on regional documents when
                                              identifying one or more of the relevant filing
                                              data or publication data of another regional
                                              application (or a regional patent, if already
                                              granted) or of a PCT application.

                                              (ii) All data in code (86), or in code (87),
                                              should be presented together and preferably
                                              on a single line. The publication number
                                              should comprise the three basic elements as
                                              shown in the examples in paragraph 17 of
                                              WIPO Standard ST.10/B.
                                              (iii) When data to be referenced by codes
                                              (86) or (87) refer to two or more regional
                                              applications (or regional patents, if already
                                              granted) and/or PCT applications, each set of
                                              relevant filing or publication data of each such
                                              application (or granted patent) should be
                                              displayed so as to be clearly distinguishable
                                              from other sets of relevant data, e.g., by
                                              presenting each set on a single line or by
                                              presenting the data of each set grouped
                                              together on adjacent lines in a column with a
                                              blank line between each set.
         (86)    Filing data of the PCT       (i) The codes (86), (87), (96) and (97) are        January 30, 2004,     Code definition
                 international                intended to be used:                               by SCIT/SDWG/4        and note
                 application, i.e.,                                                                                    amended
                 international filing date,         – on national documents when
                 international                identifying one or more of the relevant filing
                 application number,          data or publication data of the PCT
                 and, optionally, the         international application or of the regional
                 language in which the        application (or of the regional patent, if
                 published international      already granted), or
                 application was
                 originally filed                   – on regional documents when
                                              identifying one or more of the relevant filing
                                              data or publication data of the PCT
                                              international application or of another regional
                                              application (or the regional patent, if already
                                              granted).




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          Ref.: Standards – ST.9                                                                                        page: 3.9.11

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         INID     Previous definition(s)                                                          Date of deletion
                                                       Pertinent previous note(s)                                     Kind of change
         Code           of code                                                                   or amendment

         (87)    Publication data of the     (i) The codes (86) and (87) are intended to        May 30, 1997, by      Code definition
                 regional or PCT             be used:                                           PCIPI/EXEC/XX         and notes
                 application, i.e.,                                                                                   amended
                 publication date,                 – on national documents when
                 publication number,         identifying one or more of the relevant filing
                 and, optionally, the        data or publication data of a regional or
                 language in which the       PCT application, or
                 application is published
                                                   – on regional documents when
                                             identifying one or more of the relevant filing
                                             data or publication data of another regional or
                                             PCT application.

                                             (ii) All data in code (86), or in code (87),
                                             should be presented together and preferably
                                             on a single line.

                                             (iii) When data to be referenced by INID
                                             codes (86) or (87) refer to two or more
                                             regional and/or PCT applications, each set of
                                             relevant filing or publication data of each such
                                             application should be displayed so as to be
                                             clearly distinguishable from other sets of
                                             relevant data, e.g., by presenting each set on
                                             a single line or by presenting the data of each
                                             set grouped together on adjacent lines in a
                                             column with a blank line between each set.
         (87)    Publication data of the     (i) The codes (86) and (87) are intended to        November 21, 1997, Code definition
                 regional application (or    be used:                                           by PCIPI/EXEC/XXI and notes
                 of the regional patent,                                                                           amended
                 if already granted) or of         – on national documents when
                 the PCT application,        identifying one or more of the relevant filing
                 i.e., publication date,     data or publication data of the regional
                 publication number,         application (or of the regional patent, if
                 and, optionally, the        already granted) or of the PCT application, or
                 language in which the
                 application is published          – on regional documents when
                                             identifying one or more of the relevant filing
                                             data or publication data of another regional
                                             application (or a regional patent, if already
                                             granted) or of a PCT application.
                                             (ii) All data in code (86), or in code (87),
                                             should be presented together and preferably
                                             on a single line. The publication number
                                             should comprise the three basic elements as
                                             shown in the examples in paragraph 17 of
                                             WIPO Standard ST.10/B.

                                             (iii) When data to be referenced by codes
                                             (86) or (87) refer to two or more regional
                                             applications (or regional patents, if already
                                             granted) and/or PCT applications, each set of
                                             relevant filing or publication data of each such
                                             application (or granted patent) should be
                                             displayed so as to be clearly distinguishable
                                             from other sets of relevant data, e.g., by
                                             presenting each set on a single line or by
                                             presenting the data of each set grouped
                                             together on adjacent lines in a column with a
                                             blank line between each set.


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         Ref.: Standards – ST.9                                                                                    page: 3.9.12

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         INID    Previous definition(s)                                                     Date of deletion
                                                    Pertinent previous note(s)                                   Kind of change
         Code          of code                                                              or amendment

         (89)   Document number,           (iv) With regard to code (89), it should be    November 21, 1997, Code and note
                date of filing, and        noted that the CMEA ceased to exist in 1991.   by PCIPI/EXEC/XXI deleted
                country of origin of the
                original document
                according to the CMEA
                Agreement on Mutual
                Recognition of
                Inventors’ Certificates
                and other Titles of
                Protection for
                Inventions
         (92)   For an SPC, number                              –                         April 19, 2013, by    Code definition
                and date of the first                                                     CWS/3                 amended
                national authorization
                to place the product on
                the market as a
                medicinal product
         (93)   For an SPC, number,                             –                         April 19, 2013, by    Code definition
                date and, where                                                           CWS/3                 amended
                applicable, country of
                origin, of the first
                authorization to place
                the product on the
                market as a medicinal
                product within a
                regional economic
                community
         (95)   Name of the product                             –                         April 19, 2013, by    Code definition
                protected by the basic                                                    CWS/3                 amended
                patent and in respect
                of which the SPC has
                been applied for or
                granted




                                                                                                               [End of Standard]




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         EXHIBIT 1




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         EXHIBIT 1




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         EXHIBIT 1
              REDACTED IN ITS ENTIRETY




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         EXHIBIT 1
              REDACTED IN ITS ENTIRETY




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         EXHIBIT 1




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        EXHIBIT 19
              REDACTED IN ITS ENTIRETY




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         EXHIBIT 20
              REDACTED IN ITS ENTIRETY




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        EXHIBIT 21
              REDACTED IN ITS ENTIRETY




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         EXHIBIT 22
              REDACTED IN ITS ENTIRETY




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        EXHIBIT 23
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         EXHIBIT 2
              REDACTED IN ITS ENTIRETY




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        EXHIBIT 25
             REDACTED IN ITS ENTIRETY




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        EXHIBIT 26
              REDACTED IN ITS ENTIRETY




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          EXHIBIT 27




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       EXHIBIT 28




                                      A625
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       (19) Japan Patent Office (JP)

       (12) (UNEXAMINED) PATENT APPLICATION PUBLICATION (A)

       (11) Patent Application Publication Number: S61-80842

       (43) Publication Date: April 24, 1986

       (51) Int. Cl.4 Identification Symbol Office File No.
       H01L 23/34                           6616-5F

       Request for Examination: Not yet requested          Number of Inventions: 1
       (Total of 3 pages)

       (54) Title of the Invention: Semiconductor Device
       (21) Application No.: S59-201747
       (22) Application Date: September 28, 1984

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                                                    A626
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         connection pins that become collector pins 3. Heat dissipation plate 4 is integrally formed with
         two collector pins 3.
  [10]           What is noteworthy here is the size of the aforesaid heat dissipation plate 4.
  [11]           To explain, the two side portions of heat dissipation plate 4 is larger than collector pins 3
         by width W, and thus [the heat dissipation plate] is larger than distance l between the two pins.
         Because the heat dissipation plate 4 is large, its surface area becomes large, and the heat
         dissipation effect is improved.
  [12]           5 is an external connection pin that becomes the emitter pin, and 6 is an external
         connection pin that becomes the base [pin].
  [13]           In the said external connection pins 3, 4 and 5, grooves 7, 8 and 9 are formed where
         package 21, further explained below, becomes engaged. Furthermore, by providing empty space
         10 on the lead frame, the engagement between the upper and lower resin that forms the package
         is improved, and moisture intrusion is reduced, enhancing moisture resistance. Furthermore,
         notches 11, 12 formed in external connection pins 5, 6 prevent external connection pins 5, 6 from
         becoming disengaged. The bonding pad (not shown) that is formed on semiconductor chip 2 and
         the aforesaid external connection pins 5, 6 are connected by wire bondings 13, 14 as shown in
         FIG. 2.
  [14]           Resin and the like is molded around [the structure] as shown in FIG. 2 to become a
         package 11 shaped, for example, as shown in FIG. 3.
  [15]            A transistor with the afore-described structure has an exceptionally good heat dissipation
         effect and can be fully used even in electronic circuits where an output power of 1 W or higher is
         needed. Also, by providing the aforesaid grooves 7, 8 and 9, the moisture penetration path for
         moisture working its way into package 21 via the external connection pins 3, 5 and 6 is made
         longer, improving moisture resistance.

         Embodiment 2
  [16]           A second embodiment of the present invention is described next with reference to FIG.
         4a. The same numbers are used for the same parts in the first and the second embodiments of the
         present invention, and redundant description is not provided.
  [17]           As FIG. 4a shows, heat dissipation plates 4a and 4b are individually provided to the two
         external connection pins 3. The heat dissipation plates 4a and 4b are each bent outwardly. The
         heat dissipation plates 4a, 4b are cut at the position of dotted line A in FIG. 1 and are then bent.
         The sum of the areas is equal to that of afore-described heat dissipation plate 4.
  [18]           FIG. 4b and FIG. 4c show embodiments of heat dissipation plates that are larger than the
         heat dissipation plate shown in FIG. 1.
  [19]           By forming heat dissipation plates 4a, 4b with a bent construction, two transistors of the
         same structure, which are mounted adjacent to each other, are prevented from experiencing an
         unexpected contact between the heat dissipation plates, i.e., an unexpected contact between a
         collector and another collector.

         Embodiment 3
  [20]          A third embodiment of the present invention is described next with reference to FIG. 5.
         This embodiment shows the application of the present invention to a dual inline IC.
  [21]         As FIG. 5 shows, a heat dissipation plate 32 is formed on two external connection pins 31.
         The heat dissipation plate 32 may be disposed on a pin that is connected to the tab (not shown) or
         may be disposed on a pin where a high current flows such as the output circuit. Furthermore, the




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         position is not limited to the illustrated position, and a different position may be used. By
         disposing a heat dissipation plate 32 of a large size, heat generated by the semiconductor chip
         (not shown) is efficiently dissipated.

         Effects
  [22]   (1) By using the external connection pins of a semiconductor device and forming a large heat
         dissipation plate, heat is efficiently dissipated from a semiconductor chip, allowing a
         semiconductor device of a high output power to be driven.
  [23]   (2) By disposing a heat dissipation plate on an external connection pin, the mechanical strength
         of the external connection pin is increased, reducing undesired deformation of the external
         connection pin and increasing the efficiency of the mounting work.
  [24]           Although the invention by the present inventors was described with reference to specific
         embodiments, the present invention is not limited to the afore-described embodiments, and
         needless to say, various modifications are possible without deviating from the gist of the present
         invention.
  [25]           For example, the heat dissipation plates 4a, 4b can be disposed on external connection
         pins used for the base and the emitter as shown in the second embodiment.

         Field of Use
  [26]           Although, in the foregoing description, the field of use of the invention by the present
         inventors was primarily transistors and ICs, which is the background against which the invention
         was made, the field of use is not limited to them.
  [27]           For example, [the present invention] can be used with hybrid ICs.

         Brief Description of the Figures
  [28]           FIG. 1 is a plan view showing the frame of a transistor exemplifying a first embodiment
         of the present invention.
  [29]           FIG. 2 is a perspective view showing the relationship between the aforesaid frame and a
         semiconductor chip.
  [30]           FIG. 3 shows an external view of the aforesaid transistor.
  [31]           FIGs. 4a, 4b and 4c show the external view of a transistor exemplifying a second
         embodiment of the present invention.
  [32]           FIG. 5 shows an external view of a dual inline IC exemplifying a third embodiment of the
         present invention.
                 1. Tab
                 2. Semiconductor chip
                 3, 5, 6, 31. External connection pin
                 4, 4a, 4b, 32. Heat dissipation plate
                  l. Length
                 W. Width
                 21. Package

         Agent: Patent attorney Akio Takahashi




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                      FIG. 1                             FIG. 2




                      FIG. 3                             FIG. 5




                  FIG. 4a              FIG. 4b               FIG. 4c




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                                                         e-mail: toyuyyaz@gmail.com



    I, Toyu Yazaki, hereby declare that I am a professional interpreter and
    translator, with over twenty-five (25) years of professional experience, and
    am knowledgeable of and well acquainted with the Japanese language and the
    English language.

    The document in the English language attached hereto is to the best of my
    ability, knowledge and expertise the correct English translation of
    JPA_1986080842 written in the Japanese language.

    I declare under penalty of perjury under the laws of United States that the
    foregoing is true and correct. Executed this 5th day of August 2019 at Santa
    Rosa, CA.




    _____________________
    Toyu Yazaki




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                                      A633
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                                      A634
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        EXHIBIT 29
              REDACTED IN ITS ENTIRETY




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         EXHIBIT 30
              REDACTED IN ITS ENTIRETY




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         EXHIBIT 31
              REDACTED IN ITS ENTIRETY




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          EXHIBIT 32




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         EXHIBIT 33
              REDACTED IN ITS ENTIRETY




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          EXHIBIT 34




                                      A665
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                              THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

  ON SEMICONDUCTOR CORPORATION                       )
  and SEMICONDUCTOR COMPONENTS                       )
  INDUSTRIES, LLC,                                   )
                                                     )
  Plaintiffs,                                        )
                                                     )
  v.                                                 )             C.A. No. 17-247-LPS
                                                     )
  POWER INTEGRATIONS, INC.,                          )
                                                     )
  Defendant.                                         )


                DECLARATION OF ANDREW E. RUSSELL IN SUPPORT OF
                    DEFENDANT POWER INTEGRATIONS, INC.’S
                      MOTIONS FOR SUMMARY JUDGMENT

          I, Andrew E. Russell, declare:

          1.     I am partner at the law firm of Shaw Keller LLP, counsel for Power Integrations,

  Inc. (“Power Integrations”) in the above-captioned action. I am a member of the Bar of the State

  of Delaware (No. 5382). I have personal knowledge of the facts set forth herein, and if called

  upon to testify, I could and would competently testify to the statements made herein.

          2.     I offer the following statements regarding the exhibits in the appendix to Power

  Integrations, Inc.’s Motions for Summary Judgment.

          3.     Exhibit 7 is a true and correct copy of Japanese Unexamined Patent Application

  Publication No. S61-53752, and a certified translation thereof, as produced in this litigation with

  bates numbers added. The original Japanese-language document was obtained by downloading

  it from the Official Website of the Japan Patent Office. That document remains available from

  the Official Website of the Japan Patent Office, via the search function linked from

  https://www.jpo.go.jp/e/.



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          4.      Exhibit 8 is a true and correct copy of Japanese Unexamined Patent Application

   Publication No. S62-45054A, and a certified translation thereof, as produced in this litigation

   with bates numbers added. The original Japanese-language document was obtained by

   downloading it from the Official Website of the Japan Patent Office. That document remains

   available from the Official Website of the Japan Patent Office, via the search function linked

   from https://www.jpo.go.jp/e/.

          5.      Exhibit 9 is a true and correct copy of Japanese Unexamined Patent Application

   Publication No. S62-206868, and a certified translation thereof, as produced in this litigation

   with bates numbers added, and with paragraph numbers added in brackets. The original

   Japanese-language document was obtained by downloading it from the Official Website of the

   Japan Patent Office. That document remains available from the Official Website of the Japan

   Patent Office, via the search function linked from https://www.jpo.go.jp/e/.

          6.      Exhibit 10 is a true and correct copy of Japanese Unexamined Patent Application

   Publication No. H4-225268, and a certified translation thereof, as produced in this litigation with

   bates numbers added. The original Japanese-language document was obtained by downloading

   it from the Official Website of the Japan Patent Office. That document remains available from

   the Official Website of the Japan Patent Office, via the search function linked from

   https://www.jpo.go.jp/e/.

          7.      Exhibit 28 is a true and correct copy of Japanese Unexamined Patent Application

   Publication No. S61-80842, as produced in this litigation with bates numbers added, and a

   certified translation thereof, with paragraph numbers added in brackets. The original Japanese-

   language document was obtained by downloading it from the Official Website of the apan




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    atent        ice    hat d cument remains available from the Official Website of the Japan Patent

   Office, via the search function linked from https://www.jpo.go.jp/e/.

            8.         Exhibit 11 is a true and correct copy of Chin C. Lee, David H. Chien, and Chen S.

   Tsai, “An Optimization Study of Thermal Path from Plastic Packages to Board,” The

   International Journal of Microcircuits and Electronic Packaging, Volume 21, Number 1, First

   Quarter 1998 (ISSN 1063-1674), as produced in this litigation with bates numbers added. This

   document was obtained by downloading it from the website of The International Journal of

   Microcircuits and Electronic Packaging. This document remains available from the website of

   The International Journal of Microcircuits and Electronic Packaging, via the link at

   http://www.imaps.org/journal/1998/q1_1998.asp.

            9.         Exhibit 12 is a true and correct copy of excerpts from the affidavit of Christopher

   Butler, Office Manager at the Internet Archive (omitting material irrelevant to the present

   motions), as produced in this litigation, with bates numbers added. The original document was

   obtained by mail from Mr. Butler.

            10.        Exhibit 13 is a true and correct copy of a portion of the World Intellectual

   Property Organization Handbook on Industrial Property Information and Documentation,

   Standard ST.9 (June 2013), as cited in Tokyo Electron Limited v. Daniel L. Flamm, 2017 Pat.

   App. LEXIS 13067, at *24-27 (PTAB Oct. 4, 2017). This document was obtained by

   downloading it from the World Intellectual Property Organization website using the URL

   provided in the Tokyo opinion. The original document remains available from the World

   Intellectual Property Organization website, via the link at https://www.wipo.int/standards/en/

   part_03_standards.html.




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            11.    Exhibit 18 is a true and correct copy of a printout from merriam-webster.com.

   The website remains available from the Merriam-Webster website, at https://www.merriam-

   webster.com/dictionary/extend.

            12.    Certain of the exhibits referred to above, and other exhibits in the appendix, have

   highlighting added for the Court’s convenience, and all of the documents have appendix numbers

   added.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on August 5, 2019 in Wilmington, Delaware.


                                                           /s/ Andrew E. Russell
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                                                     A669
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                                   CERTIFICATE OF SERVICE

           I, John W. Shaw, hereby certify that on August 6, 2019, this document was served on the

    persons listed below in the manner indicated:

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